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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


  UNITED STATES OF AMERICA

  VS.                                             CASE NO: 6:22-cr-201-WWB-LHP

  JOSHUA EDWARDS
                                           /

                                          ORDER

        THIS CAUSE is before the Court on United States Magistrate Judge Leslie

  Hoffman Price’s Report and Recommendation (“R&R,” Doc. 242) regarding Defendant

  Joshua Edwards’ competency proceedings. Therein, Magistrate Judge Hoffman Price

  recommends that the Court find that the Government has established by a preponderance

  of the evidence that Defendant is now competent to stand trial in this matter.

        After an independent de novo review of the record, and noting that no objections

  were timely filed, this Court agrees entirely with the findings of fact and conclusions of

  law in the Report and Recommendation.

        Therefore, it is ORDERED and ADJUDGED as follows:

            1. The Report and Recommendation (Doc. 242) is ADOPTED and

               CONFIRMED and made a part of this Order.

            2. The Court finds that Defendant Joshua Edwards’ competency has been

               restored and he is presently competent to stand trial in the matter.

            3. The Government’s Motion for Status Conference Regarding Competency

               Determination and New Trial Date (Doc. 249) is GRANTED.
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            4. This case is set for a status conference before the undersigned on April 8,

               2025, at 9:30 a.m. in Courtroom 3B to discuss further proceedings and

               disposition of this case.

        DONE AND ORDERED in Orlando, Florida on March 31, 2025.




  Copies furnished to:

  Counsel of Record




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